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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 KHALID WISDOM,                                                       ORDER ADOPTING REPORT
                                                                      AND RECOMMENDATION
                   Plaintiff,                                         16-CV-1728 (DRH)(AYS)

 -against-

 THE COUNTY OF NASSAU, DET. CHARLES
 PENTOLA, DET. RAYMOND BUTTERWORTH,
 P.O. VICTOR GLADITZ, P.O. KERRI ANN
 HOOVERT, P.O. JORGE DIAZ, SGT. VINCENT
 PAPA, P.O. CHARLES VOLPE, P.O. TANYA
 TUCKER, P.O. JOHN MONELL, SGT. KENNETH
 CATALANI, DET. ROY MCCOMB, DET. G.
 UMBARILA, P.O. ERIK DIAZ, LT. ADAM
 SCHEINER, AND “JOHN/JANE DOES 1-10”
 (NAMES BEING FICTITIOUS AND PRESENTLY
 UNKNOWN)
                    Defendants.
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          Presently before the Court is the Report and Recommendation of Magistrate Judge Anne Y.

 Shields, dated April 20, 2020, recommending that (1) Defendants’ motion for summary judgment be

 granted with respect to Plaintiff’s claims for failure to intervene, municipal liability, intentional

 infliction of emotional distress, negligent training and violation of the New York State Constitution

 but otherwise denied; and (2) Plaintiff’s motion for summary judgment be denied. More than fourteen

 (14) days have passed since service of the Report and Recommendation and no objections have been

 filed.

          Pursuant to 28 U.S.C. § 636(b) and Fed. R. Civ. P. 72, this Court has reviewed the Report and

 Recommendation for clear error, and finding none, now concurs in both its reasoning and its result.

 Accordingly, the Court adopts the April 20, 2020 Report and Recommendation of Judge Shields as if

 set forth herein. Accordingly,




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        IT IS HEREBY ORDERED THAT (1) defendants’ motion for summary judgment is

 granted with respect to Plaintiff’s claims for failure to intervene, municipal liability, intentional

 infliction of emotional distress, negligent training and violation of the New York State Constitution

 but otherwise denied; and (2) Plaintiff’s motion for summary judgment is denied.




 Dated: Central Islip, New York                   s/ Denis R. Hurley
       May 21, 2020                              Denis R. Hurley
                                                 United States District Judge




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